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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

  Civil Action No. 18-CV-1975-PAB

  PAUL COFFEY AND BRANDY COFFEY,

              Plaintiffs,

  v.

  NORTHWESTERN MUTUAL LIFE INSURANCE COMPANY,

              Defendant.


               DEFENDANT NORTHWESTERN MUTUAL LIFE INSURANCE COMPANY’S
                        CORPORATE DISCLOSURE STATEMENT


              Pursuant to Rule 7.1 of the Federal Rule of Civil Procedure, Defendant Northwestern

  Mutual Life Insurance Company, through its undersigned counsel, certifies that it is a

  non-governmental corporate party; that it does not have a parent corporation; that it has no

  publicly-held affiliates; and that no publicly-held corporation owns 10% or more of its stock.

              Dated this 10th day of August, 2018.

                                                     Respectfully submitted,

                                                     s/ James R. Silvestro
                                                     Timothy G. Atkinson
                                                     James R. Silvestro
                                                     IRELAND STAPLETON PRYOR & PASCOE, PC
                                                     717 17th Street, Suite 2800
                                                     Denver, Colorado 80202
                                                     Telephone:      (303) 623-2700
                                                     E-mail: jsilvestro@irelandstapleton.com

                                                     Attorneys for Defendant




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                               CERTIFICATE OF SERVICE

         I hereby certify that on August 10, 2018, I electronically filed the foregoing
  DEFENDANT NORTHWESTERN MUTUAL LIFE INSURANCE COMPANY’S
  CORPORATE DISCLOSURE STATEMENT with the Clerk of the Court using the CM/ECF
  system and such filing was sent electronically using the CM/ECF system to the following:

  counsel@silvernbulger.com
  Thomas A. Bulger
  SILVERN & BULGER, P.C.
  4800 Wadsworth Blvd., Suite 307
  Wheat Ridge, Colorado 80033



                                          s/ James R. Silvestro
                                          James R. Silvestro




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